          Case 2:20-cr-00841 Document 20 Filed on 07/06/20 in TXSD Page 1 of 4
                                                                                              United States District Court
                                                                                                Southern District of Texas
UNITED STATES DISTRICT COURT                                      SOUTHERN DISTRICT OF TEXAS
                                                                                                    ENTERED
                                                                                                    July 06, 2020
                                    CORPUS CHRISTI DIVISION
                                                                                                 David J. Bradley, Clerk



UNITED STATES OF AMERICA                               §                      Criminal No. 2:20−cr−00841
                                                       §
v.                                                     §                              Judge Drew B. Tipton
                                                       §
LORI GARAY                                             §

                                        SCHEDULING ORDER

1.   ARRAIGNMENT¹ is scheduled for                              July 14, 2020 at 10:00 AM
                                                                (Before Julie K. Hampton, Magistrate Judge)

2.   MOTIONS will be filed by no later than                     10 working days after Arraignment

     Except for motions to suppress evidence or to
     dismiss, include a certification that the movant
     and the respondent conferred in good faith and
     could not agree on proper disposition.

3.   RESPONSES will be filed no later than                      10 working days after the Motion is
                                                                filed

4.   REPLIES will be filed no later than                        7 working days after the Response is
                                                                filed

5.   PROPOSED JURY CHARGE and                                   3 working days prior to the Final
     QUESTIONS shall be filed                                   Pretrial Conference

4.   FINAL PRETRIAL CONFERENCE set for                          July 23, 2020, 02:00 PM
                                                                (Before Drew B. Tipton, Judge)

5.   PROPOSED VOIR DIRE is set for                              3 days before Jury Selection & Trial

6.   JURY SELECTION and TRIAL set for                           August 11, 2020, 09:00 AM
                                                                (Before Drew B. Tipton, Judge)

7.   Speedy Trial limits waived? (yes/no)

8.   Estimated Time for Trial



     ¹If the Defendant wishes to waive appearance at arraignment and enter a plea of not guilty, complete the
attached waiver and file it with the Court using event Waiver of Presence at Arraignment, no later than 48
hours prior to the scheduled arraignment. When the waiver form is properly filed and accepted, the arraignment is
automatically canceled and removed from the Court's calendar.
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Direct questions about this schedule to:
     Kellie Papaioannou
     Case Manager to Hon. Drew B. Tipton
     Kellie_Papaioannou@txs.uscourts.gov
     (361) 693-6403


SIGNED the 6th of July 2020.
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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                  CORPUS CHRISTI DIVISION


UNITED STATES OF AMERICA                       §
                                               §
v.                                             §       Criminal No. 2:20−cr−00841
                                               §       Defendant No. ____
_________________________________              §
(Print Defendant's name.)

               WAIVER OF PERSONAL APPEARANCE AT ARRAIGNMENT
                     AND ENTRY OF A PLEA OF NOT GUILTY

        Now Comes Defendant in the above-referenced case who, along with his/her
undersigned attorney, hereby acknowledges the following:
        (1) Defendant has received a copy of the Indictment and the United States Attorney's
Penalty sheet. Defendant understands the charge(s) as well as the minimum and maximum
penalties applicable to those charges;
         (2) Defendant understands he/she has the right to appear personally with his/her
attorney before a Judge for Arraignment in open Court on this accusation. The Defendant
further understands that, absent the present waiver, he/she will be arraigned in open Court;
         (3) Defendant has received a copy of the scheduling order and if on bond, the
Defendant acknowledges that the failure to appear for scheduled court hearings will result in
the issuance of an arrest warrant as well as subjecting him/her to a new federal felony charge
of failure to appear for court proceedings;
         (4) Defendant, having conferred with his/her attorney in this regard, hereby waives
personal appearance with his/her attorney at the arraignment, and tenders a plea of "not
guilty."


                               ________________________________     ____________________
                               Defendant                            Date


                               ________________________________     ____________________
                               Counsel for Defendant                Date

Approved:

                   ________________________________ __________________________
                   U.S. MAGISTRATE JUDGE            Date
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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                  CORPUS CHRISTI DIVISION


UNITED STATES OF AMERICA                         §
                                                 §
v.                                               §         Criminal No. 2:20−cr−00841
                                                 §         Defendant No. ____
_________________________________                §
(Print Defendant's name.)

                  NOTICE OF INTENTION TO ENTER A PLEA OF GUILTY

        Notice is hereby given to the Court and counsel for the United States of the defendant's
intention to enter a plea of guilty.



                                                       ________________________________
                                                       Counsel for Defendant

                                                       ________________________________
                                                       Date


                                  CERTIFICATE OF SERVICE

        I certify that I notified counsel for the United States, ___________________________,
of the defendant's intention to enter a plea of guilty. I certify that a true copy of this notice
was served on counsel for the United States.



                                                       ________________________________
                                                       Counsel for Defendant
